OAO 245B
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              (Rev. 12/03) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                       FOR THE                                    District of                              PUERTO RICO
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              V.
                                                                          Case Number:                     07-186-01 (JAF)
       FELIX ALBERTO CASTRO-DAVIS
                                                                          USM Number:                      31163-069
                                                                          EPIFANIO MORALES-CRUZ, ESQ.
                                                                          Defendant’s Attorney
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
   which was accepted by the court.
X was found guilty on count(s)          ONE, TW O AND THREE OF THE INDICTMENT ON MARCH 10, 2008.
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count
18 U.S.C. §§ 2119(3)               Conspiracy in robbery (Carjacking).                                       July 16, 2006                1
and 371.
18 U.S.C. §§ 2119(3)               Robbery and Aiding and Abetting (Carjacking).                            July 15, 2006                  2
and 2.
18 U.S.C.§ 924(c)(1)(A)(ii)        Use, Carry or Possession of a weapon in relation to a crime of           July 15, 2006                  3
                                   violence.
       The defendant is sentenced as provided in pages 2 through                 5       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

G The defendant has been found not guilty on count(s)
G Count(s)                                               G   is    G are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          7/15//2008
                                                                          Date of Imposition of Judgment


                                                                          S/ JOSE A. FUSTE
                                                                          Signature of Judge




                                                                          JOSE A. FUSTE, CHIEF, U.S. DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          7/15/2008
                                                                          Date
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              Sheet 2 — Imprisonment
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                                                                IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:     FIVE (5) YEARS AS TO COUNT ONE (1) AND FOR THE REM AINDER OF HIS NATURAL LIFE AS TO
COUNT TW O (2) , TO BE SERVED CONCURRENTLY TO EACH OTHER, AND SEVEN (7) YEARS AS TO COUNT
THREE (3), TO BE SERVED CONSECUTIVELY TO THE SENTENCES IM POSED IN COUNTS ONE (1) AND TW O (2).
(TIME ALREADY SERVED TO BE CREDITED TOWARDS HIS SENTENCE).

    X The court makes the following recommendations to the Bureau of Prisons:
          Defendant be allowed to serve his sentence in the State of Florida.



    X The defendant is remanded to the custody of the United States Marshal.

    G The defendant shall surrender to the United States Marshal for this district:
          G    at                                 G     a.m.     G   p.m.        on                                           .

          G    as notified by the United States Marshal.

    G     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G    before 2 p.m. on                                             .

          G    as notified by the United States Marshal.

          G    as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

a                                                     , with a certified copy of this judgment.




                                                                                                     UNITED STATES MARSHAL


                                                                                By
                                                                                                  DEPUTY UNITED STATES MARSHAL
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             Sheet 3 — Supervised Release
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                                                      SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a        THREE (3) YEARS AS TO
COUNT ONE (1) AND FIVE (5) YEARS AS TO COUNTS TWO (2) AND THREE (3) TO BE
SERVED CONCURRENTLY TO EACH OTHER.
    The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides,
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
    The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
          days of each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
          any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
          the permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and
          to confirm the defendant’s compliance with such notification requirement.
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           Sheet 3A — Supervised Release
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                         ADDITIONAL SUPERVISED RELEASE TERMS

 1. The defendant shall not commit another Federal, state, or local crime, and shall observe the standard conditions of
supervised release recommended by the United States Sentencing Commission and adopted by this Court.
2. The defendant shall not unlawfully possess controlled substances.
3. The defendant shall refrain from possessing firearms, destructive devices, and other dangerous weapons.
4. The defendant shall refrain from the unlawful use of controlled substances and submit to a drug test within fifteen (15) days
of release; thereafter, submit to random drug test, not to exceed 104 samples per year in accordance with the Drug Aftercare
Program Policy of the U.S. Probation Office approved by this Court. If any such samples detect substance abuse, the defendant
shall participate in a drug treatment program (in-patient or out-patient) in accordance with such policy.
The defendant is required to contribute to the cost of services rendered (co-payment) based on th ability to pay or availability
of third party payments, as approved by the court.
5. The defendant shall provide the U.S. Probation Officer access to any financial information upon request and produce
evidence to the U.S. Probation Office to the effect that income tax returns have been duly filed within his place of residence as
required by law.
6. The defendant shall submit his person, residence, office, vehicle and electronic devices to a search, conducted by a U.S.
Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence
of a violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant shall warn
any other residents that the premises may be subject to searches pursuant to this condition.
7. The defendant shall cooperate in the collection of a DNA sample as directed by the U.S. Probation Officer, pursuant to the
Revised DNA Collection Requirements and Title 18, U.S. Code § 3563(a)(9).
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                              Monetary   Penalties             Document 275 Filed 08/05/08 Page 5 of 5
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                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                           Fine                                 Restitution
TOTALS            $ 300.00                                             $ -------------------------          $ -----------------------


G    The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the
     priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before
     the United States is paid.

Name of Payee                                Total Loss*                             Restitution Ordered                    Priority or Percentage




TOTALS                            $                                           $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G    the interest requirement is waived for the       G    fine      G       restitution.

     G    the interest requirement for the      G   fine       G   restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
